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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                        )
    In re:                                                              )    Chapter 11
                                                                        )
                                                                    1
    BOUCHARD TRANSPORTATION CO, INC., et al.,                           )    Case No. 20-34682 (DRJ)
                                                                        )
                              Debtors.                                  )    (Jointly Administrated)
                                                                        )

                       NOTICE OF TERMINATION OF
         STIPULATION AND AGREEMENT BY AND AMONG MORTON S.
      BOUCHARD, III AND BOUCHARD TRANSPORTATION CO., INC., ET AL.

        PLEASE TAKE NOTICE that on April 22, 2021, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) and Morton S. Bouchard, III (“Mr. Bouchard”)
entered into that certain Stipulation and Agreement By and Among Morton S. Bouchard, III and
Bouchard Transportation Co., Inc., et Al. (the “Stipulation and Agreement”), pursuant to which
Mr. Bouchard agreed to provide the Debtors’ chief restructuring officer (the “CRO”) and boards
of directors with consultation regarding the operation of the Debtors’ businesses (collectively, the
“Services”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to paragraph 8(iii) of the
Stipulation and Agreement, the CRO hereby gives written notice of termination of the provision
of Services under the Stipulation and Agreement.

        PLEASE TAKE FURTHER NOTICE that, as a result, the Stipulation and Agreement
shall terminate on the date hereof in accordance with its terms.




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      Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtor entities and the last
      four digits of their federal tax identification numbers is not provided herein. A complete list may be obtained on
      the website of the Debtors’ proposed claims and noticing agent at https://cases.stretto.com/bouchard. The location
      of the Debtors’ service address is: 58 South Service Road, Suite 150, Melville, New York 11747.



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Houston, Texas                        /s/ Matthew Ray
May 12, 2021                          Matthew Ray
                                      Chief Restructuring Officer of the Debtors and
                                      Debtors in Possession
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                                     Certificate of Service

        I certify that on May 12, 2021, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
